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November 13, 2020

VIA ECF ONLY

CHIEF JUDGE G. MURRAY SNOW

United States District Court Sandra Day O'Connor U.S. Courthouse, Suite 622
401 West Washington Street, SPC 80 Phoenix, AZ 85003-2161

Phone: (602) 322-7650

Re Pratte v. Bardwell (Case No.: 2:19-cv-00239)

Dear Honorable Judge Snow,

This letter provides notice of Mr. Pratte’s intent to move for summary judgment on his
claims for breach of contract and unjust enrichment. It is undisputed that Mr. Pratte provided Mr.
Bardwell with cash, investment holdings, and tax payments totaling . It is undisputed that upon
receiving this windfall, Mr. Bardwell worked for Mr. Pratte without further compensation for the
next twelve years. Mr. Pratte alleges that he provided Mr. Bardwell with this windfall in exchange
for Mr. Bardwell’s agreement to work for Mr. Pratte for the rest of Mr. Pratte’s life. And indeed,
Mr. Bardwell did work for Mr. Pratte for the twelve years before abruptly stopping. Mr. Bardwell
argues that his windfall from Mr. Pratte was an unconditional gift and that his continued work for
Mr. Pratte for the subsequent twelve years was gratuitous and performed simply out of loyalty.

But this is not a simple case of he said/he said. Outside of his own testimony, Mr. Bardwell
cannot point to any evidence demonstrating Mr. Pratte’s donative intent—an issue on which he
bears the burden. “A non-moving party who bears the burden of proof at trial to an element
essential to its case must make a showing sufficient to establish a genuine dispute of fact with
respect to the existence of that element of the case or be subject to summary judgment.” United
States v. 403 1/2 Skyline Dr., La Habra Heights, CA, 797 F. Supp. 796, 798 (C.D. Cal. 1992)
(citing Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552, 91 L.Ed.2d 265 (1986)).
“Thus, mere disagreement or the bald assertion that a genuine issue of material fact exists, no
longer precludes the use of summary judgment.” Jd. Mr. Bardwell has presented no evidence
suggesting his twelve years of work was gratuitously supplied. He cannot point to a single fact
witness to support either contention. Not even Mr. Bardwell’s then-wife could provide him with
any evidentiary support. Instead, witness after witness—including Mr. Bardwell’s own friends and
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neighbors—testified that Mr. Bardwell acknowledged an agreement with Mr. Pratte to work for
the rest of Mr. Pratte’s life.

Mr. Bardwell cannot survive summary judgment by simply declaring, “That’s my story
and I’m sticking to it.” “Although ‘[t]he evidence of [the non-moving party] is to be believed, and
all justifiable inferences are to be drawn in [its] favor,’ the non-moving party ‘must do more than
simply show that there is some metaphysical doubt as to the material facts.’” Equal Employment
Opportunity Comm’n v. ValleyLife, No. CV-15-00340-PHX-GMS, 2017 WL 227878, at *3 (D.
Ariz. Jan. 19, 2017) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
587 (1986). “The nonmoving party cannot avoid summary judgment by relying solely on
conclusory allegations unsupported by facts.” /d.

Indeed, Mr. Bardwell’s inability to explain why he worked for Mr. Pratte for twelve years
without additional compensation if he was not under contract is fatal to his defense—it is simply
implausible. “If the factual context makes the nonmoving party’s claim implausible, that party
must come forward with more persuasive evidence than would otherwise be necessary to show
that there is a genuine issue for trial.” Tanner v. Heise, 879 F.2d 572, 577 (9th Cir. 1989); see also
HiRel Connectors, Inc. v. United States, No. CV01-11069 DSF VBKX, 2006 WL 3618007, at *3
(C.D. Cal. Sept. 5, 2006) (“The non-movant’s burden to demonstrate a genuine issue of material
fact increases when the factual context renders the claim implausible”). Not only does Mr.
Bardwell not have “more persuasive evidence than would otherwise be necessary,” he does not
have any evidence at all.

Upon briefing, the Court should grant summary judgment in favor of Mr. Pratte on his
contract claim and unjust enrichment claim.

Sincerely,
Kercsmar & Feltus PLLC

s/Greg Collins

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